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                                                                                              E-FILED
                                                                  Monday, 14 March, 2022 03:05:49 PM
                                                                        Clerk, U.S. District Court, ILCD

                         UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF ILLINOIS
                             ROCK ISLAND DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
       Plaintiff,                           )
                                            )
v.                                          )       Case No. 20-cr-40026
                                            )
ANTHONY TONY GAY,                           )
                                            )
       Defendant.                           )

              MOTION TO QUASH SUBPOENA FOR TESTIMONY BY
            FEDERAL PUBLIC DEFENDER INVESTIGATOR SARAH REED

       NOW COMES Sarah Reed, Investigator for the Federal Public Defender’s Office

for the Central District of Illinois, by her attorney, Thomas W. Patton, Federal Public

Defender for the Central District of Illinois, and for her Motion to Quash Subpoena

states as follows:

       1.     Defendant Anthony Gay has served Sarah Reed, Investigator with the

Federal Public Defender’s Office for the Central District of Illinois, with a subpoena for

her testimony at the jury trial scheduled to take place on April 19, 2022.

       2.     Ms. Reed was assigned to Mr. Gay’s case when he was represented by the

Federal Defender’s Office from approximately September 20, 2021, through the office’s

termination on December 8, 2021. During that time, Ms. Reed’s limited role was to issue

FOIA requests at the direction of Assistant Federal Public Defender Elisabeth Pollock,

and traveling to the scene of the underlying traffic stop in Rock Island, Illinois, to view




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the area. During the site visit, Ms. Reed took video of the path of Defendant’s vehicle on

the night of his arrest.

       3.     Upon information and belief, Ms. Reed has no relevant, information

which would be admissible under the Federal Rules of Evidence. She hereby requests

that the subpoena be quashed pursuant to Federal Rule of Criminal Procedure 17(c)(2),

or alternatively, that the Defendant be required to alert the Court as to what admissible,

relevant information is in her possession that could be used at trial.

                                   Respectfully Submitted,

                                   THOMAS W. PATTON
                                   Federal Public Defender

                            By:    /s/ Thomas W. Patton
                                   Federal Public Defender
                                   401 Main Street, Suite 1500
                                   Peoria, IL 61602
                                   (309) 671-7891
                                   Thomas_Patton@fd.org




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2022, I presented the foregoing to the Clerk of

the Court for filing and uploading to the CM/ECF system which will send notification

of such filing to the parties in the case.

                                     By:     /s/ Thomas W. Patton
                                             Federal Public Defender
                                             401 Main Street, Suite 1500
                                             Peoria, IL 61602
                                             (309) 671-7891
                                             Thomas_Patton@fd.org




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